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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


CENTRAL FLORIDA CIVIL, LLC                       Case No.: 3:22-bk-01736-BAJ
                     Debtor
________________________________/
CENTRAL FLORIDA CIVIL, LLC             Adv. Pro. No. 23-ap-0
v.
FUSION FUNDING LLC a/k/a FUSION FUNDING
CAPITAL, LLC
STEVEN ZAKHARYAYEV

                     Defendant(s).
______________________________/


                                       COMPLAINT
       CENTRAL FLORIDA CIVIL, LLC ( “CENTRAL FLORIDA”) sues FUSION

FUNDING, LLC a/k/a FUSION FUNDING CAPITAL, LLC (“FUSION”) and STEVEN

ZAKHARYAYEV (“ZAKHARYAYEV”) for violations of the automatic Stay provisions of Sec.

362(a) of the United States Bankruptcy Code and to hold each Defendant in Civil Contempt for

violations of the Chapter 11 Confirmation Order in this Case. In support of such Complaint,

CENTRAL FLORIDA states:

                                       Introduction
1. This is an action for damages filed by CENTRAL FLORIDA(s) pursuant to Section 362 of the

   Bankruptcy Code and for contempt/injunctive relief to prohibit future violations of the

   Bankruptcy Code by the Defendant.
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                                    Jurisdiction and Venue
2. Jurisdiction is conferred on this Court pursuant to the provisions of Section 1334 of Title 28

   of the United States Code in that this proceeding arises in and is related to the above-captioned

   Chapter 11 case under Title 11 and concerns property of the Debtor(s) in that case.

3. This Court has both personal and subject matter jurisdiction to hear this case pursuant to

   Section 1334 of Title 28 of the United States Code, Section 157(b)(2) of the United States

   Code.

4. This matter is a core proceeding and therefore the Bankruptcy Court has jurisdiction to enter a

   final order.

5. Venue lies in this District pursuant to Section 1391(b) of the United States Code.

                                             Parties

6. The CENTRAL FLORIDA in this case is Debtor under Chapter 11 of Title 11 of the United

   States Code in case number 3:22-bk-01736-BAJ (the “Main Case”).

7. The Defendant(s) FUSION is a New York Limited Liability Company located at 88 Pine St,

   Suite 2202, New York, NY 10005 engaged in the receivables financing business.

8. ZAKHARYAYEV is an attorney for FUSION whose law office is located at 10 W 37th Street,

   RM 602, New York, NY 10018.

                                      Factual Allegations
9. On August 31, 2022 CENTRAL FLORIDA commenced the main Chapter 11 case with the

   filing of a Voluntary Petition with the Clerk of this Court.

10. Central Florida, LLC was granted the protection of the automatic stay provisions of 11 U.S.C.

   § 362 upon the filing of the Petition. As of the date of this Complaint, the automatic stay has

   never been lifted in favor of either Defendant.
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11. On the date of the filing the Chapter 11 case CENTRAL FLORIDA scheduled $46,000.00 as

   owed to FUSION according to Schedule E/F filed in this case.

12. The FUSION debt was related to a receivable purchase agreement and personal guaranty dated

   February 17, 2022. Attached as Exhibit 1. FUSION had loaned CENTRAL FLORIDA

   $45,000.00 based on an alleged security interest in the total future accounts receivable of

   CENTRAL up to the sum of $74,950.00.

13. The Court set a claims deadline of November 9, 2022 after the filing of the case. See Doc. No.

   16. FUSION did not file a claim by the claims deadline or participate in this case despite notice

   of the Chapter 11 filing being sent to it’s address in New York.

14. The Court confirmed the Chapter 11 Plan on March 3, 2023 at Doc. No. 215. As a part of the

   Confirmation Order the Court extended the automatic stay provisions of 11 U.S.C. § 362 to

   Chad Converse as a critical component and employee of the reorganization process.

15. Section 9.03 of the Confirmed Plan provided as follows:

               9.03 Upon Confirmation of this Plan or any Amended Plan with substantially
               the same language and compliance with the provisions of Article 9.04 of this
               Plan below, the Automatic Stay of 11 U.S.C. § 362(a) shall extend only to Chad
               and Cara Converse (codebtor(s)) if they personally guaranteed any secured,
               unsecured or leased debt of the corporation until such time as one of the four
               following termination provisions occurs: 1) the Chapter 11 case is discharged
               or Dismissed; 2) the co-debtor leaves the employment of the corporation; 3)
               the plan is in default as to the creditor attempting to exercise it’s co-debtor
               guaranty; or 4) the co-debtor voluntarily waives such protection in writing to
               any creditor (whichever occurs first). The extension of the automatic stay is
               subject to the terms of section 5(c) above relating to Core & Main and Core &
               Main will not be enjoined from pursuing its rights thereunder. This extension
               of the automatic stay shall not act as a discharge of any indebtedness still owed
               by a co-debtor upon the expiration of any of the four (4) termination provisions
               above.

See Doc. No. 215, Page 6.
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16. On August 11, 2023, FUSION, through it’s attorney ZAKHARYAYEV, attempted collection

   of it’s pre-petition claim against CENTRAL FLORIDA. Originally, the collection attempts

   were limited to phone calls and text messages to CENTRAL FLORIDA and Chad Converse

   personally. FUSION then contacted the attorney for CENTRAL FLORIDA on August 11,

   2023 and was provided the case number and District for the Chapter 11 of CENTRAL

   FLORIDA. See Exhibit 2 attached.

17. Based on the case number provided by the attorney for CENTRAL FLORIDA, FUSION filed

   Proof of Claim #28 on August 15, 2023 in the amount of $68,338.28. Accordingly, FUSION

   had actual knowledge of the terms of the Chapter 11 Plan and the Order Confirming the Plan

   on that date. The Proof of Claim was filed by ZAKHARYAYEV.

18. Despite the actual knowledge of the filing of the Chapter 11 case and the terms of the Order

   Confirming the Chapter 11 Plan, FUSION through it’s attorney ZAKHARYAYEV filed suit

   in New York against Chad Converse personally on August 18, 2023. See Attached Exhibit 3.

   The filing of the Complaint against Chad Converse was in violation of the automatic stay

   provisions of 11 U.S.C. § 362 and in contempt of the Court’s Order Confirming the Chapter

   11 Plan of CENTRAL FLORIDA as a willful violation of the terms of the Confirmed Plan.

       COUNT 1- VIOLATION OF THE AUTOMATIC STAY PROVISIONS OF
                             11 U.S.C. §362(a)


19. The action of FUSION and ZAKHARYAYEV in filing suit against Chad Converse after actual

   knowledge of the Chapter 11 case and terms of the Confirmed Plan has violated the stay against

   collection contained in 11 U.S.C. §362 (a)(1) and (6).

20. FUSION and ZAKHARYAYEV violated the above sections by the “commencement or

   continuation, including the issuance or employment of process, of a judicial, administrative, or

   other action or proceeding against the debtor that was or could have been commenced before
           Case 3:23-ap-00075-BAJ          Doc 1     Filed 08/23/23      Page 5 of 39




   the commencement of the case under this title, or to recover a claim against the debtor that

   arose before the commencement of the case” and “any act to collect, assess, or recover a claim

   against a debtor that arose before the commencement of the case......” against Chad Converse

   despite the Court extending the terms of the automatic stay to him.

21. Both FUSION and ZAKHARYAYEV had actual knowledge of the filing of the Chapter 11

   case and the terms of the Confirmed Chapter 11 Plan which had extended the automatic stay

   provisions to Chad Converse.

22. In bringing this action for violation of the stay provisions above, CENTRAL FLORIDA has

   incurred attorney’s fees and costs. CENTRAL FLORIDA would request that it be entitled to

   an award of reasonable attorney’s fees and costs under 11 U.S.C. §105 for the violations of the

   stay by Defendants.

   COUNT 2 – CIVIL CONTEMPT OF ORDER CONFIRMING CHAPTER 11 PLAN

23. The action of FUSION and ZAKHARYAYEV in filing suit against Chad Converse after actual

   knowledge of the Chapter 11 case and terms of the Confirmed Plan was contemptuous conduct

   in willful violation of the Order Confirming the Chapter 11 Plan.

24. FUSION and ZAKHARYAYEV violated the terms of the Order Confirming the Plan by the

   “commencement or continuation, including the issuance or employment of process, of a

   judicial, administrative, or other action or proceeding against the debtor that was or could have

   been commenced before the commencement of the case under this title, or to recover a claim

   against the debtor that arose before the commencement of the case” and “any act to collect,

   assess, or recover a claim against a debtor that arose before the commencement of the case......”

   against Chad Converse despite the Court extending the terms of the automatic stay to him.
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25. Both FUSION and ZAKHARYAYEV had actual knowledge of the filing of the Chapter 11

   case and the terms of the Confirmed Chapter 11 Plan which had extended the automatic stay

   provisions to Chad Converse.

26. In bringing this action for contempt above, CENTRAL FLORIDA has incurred attorney’s fees

   and costs. CENTRAL FLORIDA would request that it be entitled to an award of reasonable

   attorney’s fees and costs under 11 U.S.C. §105 for the contemptuous conduct by Defendants.

                                    RELIEF REQUESTED
CENTRAL FLORIDA requests this Court:

1. Enter Judgment against FUSION and ZAKHARYAYEV;

2. Prohibit FUSION FUNDING and ZAKHARYAYEV from future attempt to collect the pre-

petition debt owed by Chad Converse;

3. Order FUSION and ZAKHARYAYEV to pay attorney’s fees, court costs, and actual damages

for the violations of the Bankruptcy Code and the terms of the Order Confirming the Chapter 11

Plan;

4. Any and all other relief deemed necessary by this Court.

DATED this __23__ day of August, 2023
                                                    Law Offices of Mickler & Mickler, LLP

                                                    By:__/s/ Bryan K. Mickler_______
                                                        Bryan Mickler
                                                    Florida Bar No. 091790
                                                    Attorney for CENTRAL FLORIDA
                                                    5452 Arlington Expressway
                                                    Jacksonville, FL 32211
                                                    (904) 725-0822 / FAX: 725-0855
                                                    bkmickler@planlaw.com
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                   EXHIBIT 1
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                                 FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT

This agreement (“Agreement”), dated __________
                                          02/17/2022 , between Fusion Funding (“Purchaser”) and the seller(s) listed herein (collectively,
the "Seller”) (all capitalized terms shall have the meanings ascribed to them below):

Merchants legal name: ______________________________________________________________________
                      CENTRAL FLORIDA CIVIL LLC                                              and all entities listed on Addendum 5
D/B/A: CENTRAL FLORIDA CIVIL                                                           ________________________________________________________ _
Business Entity: LIMITED LIABILITY COMPANY
                       ___________________________________________________________ Business EIN Number:                                _________
Physical Address: 1904 NE JACKSONVILLE RS                                              _ Merchant S.S. Number:                               ___
City: OCALA
        ________________________________________________________________________________________ State: FL
                                                                                                        ______________ Zip: __________________
                                                                                                                            34470
                 1904 NE JACKSONVILLE RS
Mailing Address: ___________________________________________________________________________________________________________________________
City: ____________________________________________________________________________________________
      OCALA                                                                                        State: F______________ Zip: 34470
                                                                                                                               __________________

     Purchase Price      Receipts Purchased                Fees                Net Funding              Specified %       Scheduled Remit
    $ 50,000.00          $ 74,950.00                 $ 5,000.00            $ 45,000.00                 25%                $ 1,499.00
*



**




SELLER # 1 (Print)
By (First Name) : __________________________________________________
                  CHAD MICHAEL                                            (Last Name) : _____________________________________________________
                                                                                        CONVERSE
Email : ______________________________________________________________
        brett@cfcivil.com                                                 Business Phone :                               ________________________

(Title) : OWNER
          _____________________________________________________________                __________________________________________________________

SELLER # 2 (Print)
By (First Name) : __________________________________________________      (Last Name) : _____________________________________________________
Email : ______________________________________________________________    Business Phone : _________________________________________________

(Title) : _____________________________________________________________                __________________________________________________________

OWNER/GUARANTOR # 1 (Print)
                  CHAD MICHAEL
By (First Name) : __________________________________________________                    CONVERSE
                                                                          (Last Name) : _____________________________________________________
        brett@cfcivil.com
Email : ______________________________________________________________    Business Phone :                              _________________________

(Title) : OWNER
          _____________________________________________________________                __________________________________________________________

OWNER/GUARANTOR # 2 (Print)
By (First Name) : __________________________________________________      (Last Name) : _____________________________________________________
Email : ______________________________________________________________    Business Phone : _________________________________________________

(Title) : _____________________________________________________________                __________________________________________________________

Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                                                                                                                              2




                               FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT
NOW, THEREFORE, for good and valuable consideration, the mutual receipts and sufficiency of which is hereby acknowledged by
both parties, PURCHASER and Seller hereby agree to the foregoing and as follows:
  BASIC TERMS AND DEFINITIONS
      “Effective Date”

       “Specified Percentage”            25%
       “Future Receipts”



       “Daily Receipts”
       “Purchased Amount”

                         $ 74,950.00
       “Purchase Price”


                                                            $ 50,000.00
       “Scheduled Remittance”




       $ 1,499.00


        “Workday”

       “Applicable Fees”




       “Prior Balance”



       “Origination Fee”




        Net Funding

                    “Seller”




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                           FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT




                    “Guarantor”




  The Term



  Sale of Purchased Future Receipts




  Payment of Purchase Price


  Use of Purchase Price




  Initial Daily Installments of Purchased Amount




7. Approved Bank Account and Credit Card Processor




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                            FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT
  Authorization to Debit Approved Bank Account




  Fees Associated with Debiting Approved Bank Account




   Seller’s Right for Reconciliation




   Request for Reconciliation Procedure




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                            FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT




12. Adjustment of the Initial Daily Installment




   Request for Adjustment Procedure.




14. Seller’s Right to Accelerate Remittance of the Outstanding Portion of the Purchased Amount of Future Receipts
(“Outstanding PAFR”).




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                           FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT




15 Rights and Obligations of PURCHASER Upon Receipt of the Outstanding PAFR




    Risk Sharing Acknowledgments and Arrangements.




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                           FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT




   Prior Balance.


   Prior Balance.




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                            FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT



   Origination Fee



   No Reduction of Purchase Price




   Seller represents, warrants and covenants that as of this date and during the term of thisAgreement:




       Governmental Approvals


       Good Standing


       Authorization




       Accounting Records and Tax Returns




       Taxes; Workers Compensation Insurance.


       Business Insurance


       Electronic Check Processing Agreement




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                              FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT



       No Diversion of Future Receipts


       Change of Name or Location



       Prohibited Business Transactions.


       No Closing of Business




       No Pending Bankruptcy.




       Estoppel Certificate




       Unencumbered Future Receipts




       No Stacking

       Business Purpose

       No Default Under Contracts with Third Parties


       Right of Access.




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                           FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT




       Phone Recordings and Contact.




       Knowledge and Experience of Decision Makers




       Seller’s Due Diligence




       Consultation with Counsel




       PURCHASER’s Consent.


       No Reliance on Oral Representations




       No Additional Fees Charged.




PLEDGE OF SECURITY

   Pledge




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                           FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT
                                           “         ”

                                                                                    “       ”

   a.


   b.
   Termination of Pledge



   Representations with Respect to Collateral




   Further Assurances




   Attorney-in-Fact




EVENTS OF DEFAULTS & REMEDIES

   Events of Default.




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                           FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT



   Default under the Agreement

   Seller’s Obligations Upon Default




   Remedies Upon Default




       f.




   Remedies are not Exclusive


   Power of Attorney.




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                              FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT




    Protection of Information.




    Sharing of Information.


ADDITIONAL TERMS
    Seller Deposit Agreement




    Financial Condition




    Transactional History

    Indemnification




    No Liability



MISCELLANEOUS
    Modifications; Agreements

    Assignment


    Notices
Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                            FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT




   Waiver Remedies



   Binding Effect

   Governing Law, Venue and Jurisdiction.




   Survival of Representation, etc


   Severability



   Entire Agreement


   Jury Trial Waiver.



   Class Action Waiver.




   Counterparts and Facsimile Signatures



   Prejudgment Remedy Waiver




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                                   FUTURE RECEIVABLES SALE AND PURCHASE AGREEMENT




                          the parties hereto have caused this Agreement to be executed as of the date first above written.


SELLER # 1 (Print)
                   CHAD MICHAEL
By (First Name) : __________________________________________________                      CONVERSE
                                                                           (Last Name) : _____________________________________________________
         brett@cfcivil.com
Email : ______________________________________________________________     Business Phone : _                    _______________________________
          OWNER
(Title) : _____________________________________________________________                __________________________________________________________

SELLER # 2 (Print)
By (First Name) : __________________________________________________       (Last Name) : _____________________________________________________
Email : ______________________________________________________________     Business Phone : _________________________________________________

(Title) : _____________________________________________________________                __________________________________________________________

OWNER/GUARANTOR # 1 (Print)
By (First Name) : __________________________________________________
                   CHAD MICHAEL                                                           CONVERSE
                                                                           (Last Name) : _____________________________________________________
         brett@cfcivil.com
Email : ______________________________________________________________     Business Phone : __(                     ____________________________
          OWNER
(Title) : _____________________________________________________________                __________________________________________________________

OWNER/GUARANTOR # 2 (Print)
By (First Name) : __________________________________________________       (Last Name) : _____________________________________________________
Email : ______________________________________________________________     Business Phone : _________________________________________________

(Title) : _____________________________________________________________                __________________________________________________________

FUNDER
(Fusion Funding) : _________________________________________________ (Company Officer):_______________________________________________

(Title) : ______________________________________________________________               ________________________________________________________




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                              ADDENDUM 1: PERSONAL GUARANTY OF PERFORMANCE

                                                                        02/17/2022




                                                                                                  02/17/2022



           The Seller: ______________________________________________________________________________________
                       CHAD MICHAEL CONVERSE

           Legal Business Name: _____________________________________________________________________________
                                CENTRAL FLORIDA CIVIL LLC

           Business D/B/A: __________________________________________________________________________________
                           CENTRAL FLORIDA CIVIL




NOW


   Defined Terms.

   Guaranty of Obligations.




   Guarantor’s Additional Covenants.




4. Guarantor’s Additional Covenants.


Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                             ADDENDUM 1: PERSONAL GUARANTY OF PERFORMANCE




5.   Waiver; Remedies.




     Acknowledgment of Purchase.




     Governing Law and Jurisdiction.




     Jury Waiver




     CLASS ACTION WAIVER.




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
                        Case 3:23-ap-00075-BAJ                  Doc 1       Filed 08/23/23          Page 25 of 39




                                    ADDENDUM 1: PERSONAL GUARANTY OF PERFORMANCE

    Severability.



    Opportunity for Attorney Review.


    Counterparts and Facsimile Signatures.



    Prejudgment Remedy Waiver




By (First Name) : __________________________________________________
                  CHAD MICHAEL                                                           CONVERSE
                                                                          (Last Name) : _____________________________________________________
Email : ______________________________________________________________
        brett@cfcivil.com                                                 Business Phone : _(                    ______________________________

(Title) : _____________________________________________________________
          OWNER                                                                       __________________________________________________________

SELLER # 2 (Print)
By (First Name) : __________________________________________________      (Last Name) : _____________________________________________________
Email : ______________________________________________________________    Business Phone : _________________________________________________

(Title) : _____________________________________________________________               __________________________________________________________

OWNER/GUARANTOR # 1 (Print)
By (First Name) : __________________________________________________
                  CHAD MICHAEL                                            (Last Name) : _____________________________________________________
                                                                                         CONVERSE
        brett@cfcivil.com
Email : ______________________________________________________________    Business Phone :                        _____________________________
          OWNER
(Title) : _____________________________________________________________               __________________________________________________________




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
                         Case 3:23-ap-00075-BAJ                    Doc 1          Filed 08/23/23          Page 26 of 39




                                   ADDENDUM 1: PERSONAL GUARANTY OF PERFORMANCE



OWNER/GUARANTOR # 2 (Print)
By (First Name) : __________________________________________________            (Last Name) : _____________________________________________________
Email : ______________________________________________________________          Business Phone : _________________________________________________

(Title) : _____________________________________________________________                     __________________________________________________________

FUNDER
(Fusion Funding) : __________________________________________________ (Company Officer):___________________________________________

(Title) _____________________________________________________________________               _____________________________________________________________




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
                      Case 3:23-ap-00075-BAJ               Doc 1      Filed 08/23/23        Page 27 of 39




                                                ADDENDUM 2: APPLICABLE FEES



   Possible Conflicts
                        02/17/2022

   Additional Capital.


   Additional Funding/”Stacking” Fee.
                    (known within the finance industry as Stacking)                                                     merchant
   agrees to pay to Fusion Funding a $25,000.00 penalty or 10% of the calculated payback amount, whichever is higher.



   Additional Fees.

   Authorization


   No Reduction of Purchase Price

   Applicable Fees

            Origination/Underwriting Fee.               10.00%




            NSF Fee.
            Default Fee.
            Blocked Account Fee.

            Bank Change Fee.

            Wire Fee.

            ACH Program Fee.
            3rd Party Intermediary Fee.




            UCC Fee.
            Miscellaneous Service Fees.


            Collection Fees and Costs.




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                                                  ADDENDUM 2: APPLICABLE FEES

    Specified Percentage
                $ 1,499.00


    Third Party Servicer.



    Additional Financing.
            Additional Financing.


              Additional Financing Penalty.


    Daily Remittance.




             Bank Account: _____________________________________________________________________________________________________________
                             CENTRAL FLORIDA CIVIL LLC
             Routing Number: _                  ___________________________________________________________________________________________
             Account Number: _               _______________________________________________________________________________________________
                         MAINSTREET COMMUNITY BANK
              Bank Name: _______________________________________________________________________________________________________________


SELLER # 1 (Print)
By (First Name) : __________________________________________________
                  CHAD MICHAEL                                                          CONVERSE
                                                                          (Last Name) : _____________________________________________________
        brett@cfcivil.com
Email : ______________________________________________________________    Business Phone : _(                    _______________________________
          OWNER
(Title) : _____________________________________________________________               __________________________________________________________

SELLER # 2 (Print)
By (First Name) : __________________________________________________      (Last Name) : _____________________________________________________
Email : ______________________________________________________________    Business Phone : _________________________________________________

(Title) : _____________________________________________________________               __________________________________________________________

OWNER/GUARANTOR # 1 (Print)
By (First Name) : __________________________________________________
                  CHAD MICHAEL                                            (Last Name) : _____________________________________________________
                                                                                        CONVERSE
Email : ______________________________________________________________
        brett@cfcivil.com                                                 Business Phone : _(                    _______________________________

(Title) : _____________________________________________________________
          OWNER                                                                       __________________________________________________________

OWNER/GUARANTOR # 2 (Print)
By (First Name) : __________________________________________________      (Last Name) : _____________________________________________________
Email : ______________________________________________________________    Business Phone : _________________________________________________

(Title) : _____________________________________________________________               __________________________________________________________

Owner(s)/Guarantor(s) Initials [ ______ ______ ]
                        Case 3:23-ap-00075-BAJ                  Doc 1       Filed 08/23/23          Page 29 of 39




                                               ADDENDUM 3: ACH AUTHORIZATION

                                  02/17/2022                                                  CENTRAL FLORIDA CIVIL LLC


    Bank Account Access.



    Bank Login Authorization.




                      ALL INFORMATION BELOW MUST BE COMPLETED OR FUNDS WILL NOT BE RELEASED

    Account Holder Information.
                                        CENTRAL FLORIDA CIVIL LLC
                                       CENTRAL FLORIDA CIVIL
                                               1904 NE JACKSONVILLE RS OCALA FL 34470
    Account Holder’s Bank Information.
                                                 MAINSTREET COMMUNITY BANK




    Transaction Information.
                                         $ 1,499.00
           Effective Date 02/17/2022
           Rate of Collection Daily
    Complete ACH Authorization.




AUTHORIZED ACCOUNT HOLDER/SELLER # 1 (Print)
                   CHAD MICHAEL
By (First Name) : __________________________________________________                    CONVERSE
                                                                          (Last Name) : _____________________________________________________
        brett@cfcivil.com
Email : ______________________________________________________________    Business Phone : _(                     _____________________________
          OWNER
(Title) : _____________________________________________________________               __________________________________________________________



Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                                               ADDENDUM 3: ACH AUTHORIZATION

AUTHORIZED ACCOUNT HOLDER/SELLER # 2 (Print)
By (First Name) : __________________________________________________      (Last Name) : _____________________________________________________
Email : ______________________________________________________________    Business Phone : _________________________________________________

(Title) : _____________________________________________________________               __________________________________________________________

AUTHORIZED ACCOUNT HOLDER/GUARANTOR # 1 (Print)
By (First Name) : __________________________________________________
                  CHAD MICHAEL                                       (Last Name) : CONVERSE
                                                                                   _____________________________________________________
Email : ______________________________________________________________
        brett@cfcivil.com                                                 Business Phone : _(                   _______________________________
          OWNER
(Title) : _____________________________________________________________               __________________________________________________________

AUTHORIZED ACCOUNT HOLDER/GUARANTOR # 2 (Print)
By (First Name) : __________________________________________________ (Last Name) : _____________________________________________________
Email : ______________________________________________________________    Business Phone : _________________________________________________

(Title) : _____________________________________________________________               __________________________________________________________




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                                          ADDENDUM 4: REFERENCE FORM
                                      Reference Form Must be Completed Prior to Funding

Contact Information:
                         CHAD MICHAEL CONVERSE




Personal Reference #1:




Personal Reference #2:




Business Reference #1:




Business Reference #2:




Landlord Contact:




Emergency Contact:




Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                                                   ADDENDUM 5: MULTIPLE ENTITIES

                                  02/17/2022                                                 CENTRAL FLORIDA CIVIL LLC



                      ALL STAR CIVIL LLC
Business Legal Name: ___________________________________________________________________________ EIN: _                       __________________
        ALL STAR CIVIL
D/B/A: ________________________________________________________________________________________________________________________________________
         1904 NE JACKSONVILLE RD OCALA, FL 34470
Address: _____________________________________________________________________________________________________________________________________
                         LIMITED LIABILITY COMPANY
Form of Business Entity: _________________________________________________________________________________________________________________



Business Legal Name: ___________________________________________________________________________ EIN: ___________________________________
D/B/A: ________________________________________________________________________________________________________________________________________
Address: _____________________________________________________________________________________________________________________________________
Form of Business Entity: _________________________________________________________________________________________________________________



Business Legal Name: ___________________________________________________________________________ EIN: ___________________________________
D/B/A: ________________________________________________________________________________________________________________________________________
Address: _____________________________________________________________________________________________________________________________________
Form of Business Entity: _________________________________________________________________________________________________________________


SELLER # 1 (Print)
                  CHAD MICHAEL
By (First Name) : __________________________________________________                    CONVERSE
                                                                          (Last Name) : _____________________________________________________
        brett@cfcivil.com
Email : ______________________________________________________________                      (
                                                                          Business Phone : __                     _____________________________
          OWNER
(Title) : _____________________________________________________________               __________________________________________________________

SELLER # 2 (Print)
By (First Name) : __________________________________________________      (Last Name) : _____________________________________________________
Email : ______________________________________________________________    Business Phone : _________________________________________________

(Title) : _____________________________________________________________               __________________________________________________________

OWNER/GUARANTOR # 1 (Print)
                  CHAD MICHAEL
By (First Name) : __________________________________________________                    CONVERSE
                                                                          (Last Name) : _____________________________________________________
        brett@cfcivil.com
Email : ______________________________________________________________    Business Phone : _                       ____________________________
          OWNER
(Title) : _____________________________________________________________               __________________________________________________________

OWNER/GUARANTOR # 2 (Print)
By (First Name) : __________________________________________________      (Last Name) : _____________________________________________________
Email : ______________________________________________________________    Business Phone : _________________________________________________

(Title) : _____________________________________________________________               __________________________________________________________

Owner(s)/Guarantor(s) Initials [ ______ ______ ]
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                    EXHIBIT 2
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                    EXHIBIT 3
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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF KINGS

                                                                         x

           FUSION FUNDING,
                                                                             Index No.
                                     Plaintiff,

                                          -against-
                CHAD MICHAEL CONVERSE,
                                                                             SUMMONS


                                  Defendant(s).
                                                                         x

          To the above-named Defendant(s):

                 YOU ARE HEREBY SUMMONED and required to serve upon Plaintiff’s attorney an

          answer to the complaint in this action within twenty days after the service of this summons,

          exclusive of the day of service, or within thirty days after service is complete if this summons is

          not personally delivered to you within the State of New York. In case of your failure to answer,

          judgment will be taken against you by default for the relief demanded in the annexed complaint.

              Plaintiff designates KINGS County as the place of trial. The basis of the venue is designated in the
        Agreement between the parties.

            Dated: August 17, 2023
                   New York, NY

                                                            By: /s/ Steven Zakharyayev
                                                             Steven Zakharyayev, Esq.
                                                             10 W 37th Street, RM 602
                                                             New York, NY 10018
                                                             (201) 716-0681
                                                            Attorneys for Plaintiff
            TO DEFENDANT(S):



            CHAD MICHAEL CONVERSE
            1904 NE JACKSONVILLE RS, OCALA, FL 34470




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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF KINGS


                                                                       X

           FUSION FUNDING LLC                                              Index No.
                                    Plaintiff,
                                    -against-
                                                                           COMPLAINT
           CHAD MICHAEL CONVERSE,



                                 Defendant(s).
                                                                       X



                 Plaintiff, FUSION FUNDING, by its attorney Steven Zakharyayev, Esq. as and for its

          complaint against Defendant(s) herein, alleges as follows:

                1. Plaintiff FUSION FUNDING LLC(“Plaintiff”) is a New York limited liability

                    company engaged in the receivable financing business.

                2. Defendant CHAD MICHAEL CONVERSE (“Defendant-Guarantor”) is an

                    individual residing in the State of FLORIDA and upon information and belief is a

                    principal of defendant-seller.

                3. Pursuant to a receivable purchase agreement and personal guaranty dated February 17,

                    2022 (the “Agreement”), Plaintiff purchased a percentage of the Defendant-Seller’s

                    total future accounts receivable up to the sum of $74,950.00 (“Purchased Amount”) in

                    exchange for an upfront purchase price of $50,000.00 (“Purchase Price”) A copy of

                    the merchant agreement is attached as EXHIBIT A.

                4. The Agreement contains the parties’ express consent to the jurisdiction of the courts

                    located in the State of New York.

                5. Pursuant to the Agreement, Plaintiff was authorized to collect via an ACH electronic

                    debit of the Future Receivables, until such time that Plaintiff collected the total

                    amount of purchased receivables.
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               6. Critical to facilitating this transaction, the Agreement contains Defendant-Seller’s

                    express covenant not to revoke its ACH authorization to Plaintiff or otherwise take any

                    measure to interfere with Plaintiff’s ability to collect the Future Receivables.

               7. Contrary to Defendant-Seller’s express covenant set forth above, Defendant-Seller

                    materially breached the terms of the Agreement on March 3, 2022 by changing the

                    designated bank account without Plaintiff’s authorization, by placing a stop payment

                    on Plaintiff’s debits to the account or by otherwise taking measures to interfere with

                    Plaintiff’s ability to collect the Future Receivables. A copy of the remittance history

                    is attached as EXHIBIT B.

                                      AS AND FOR A SECOND CAUSE OF ACTION
                                      (Breach of Guaranty as to Defendant-Guarantor)

               8. The     Agreement      contains   Defendant-Guarantor’s      separately   executed   and

                    unconditional guarantee of payment in the event of default under the Agreement by

                    Defendant-Seller (“Guaranty”).

               9. As a result of Defendant-Seller’s breach and default under the Agreement as set forth

                    above and pursuant to the Guaranty, there is presently due and owing from

                    Defendant-Guarantor to Plaintiff the amount of $68,338.28 with interest thereon

                    from March 3, 2022.

                     WHEREFORE, Plaintiff demands judgment against defendants on the respective
                causes of action in the amount of $68,338.28, plus interest from March 3, 2022 and costs
                and attorneys’ fees, for such other and further relief as this Court may deem just and
                proper.


           Dated: August 17, 2023
                  New York, NY                               By:/s/ Steven Zakharyayev ________
                                                             STEVEN ZAKHARYAYEV, ESQ
                                                             10 W 37th Street, RM 602
                                                             New York, NY 10018
                                                             (201) 716-0681
                                                             Attorneys for Plaintiff




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